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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   GALVESTON DIVISION


LESLIE McCOLGIN, on Behalf of Himself  ]                  CASE NO. 3:15-cv-193
and Others Similarly Situated,         ]
                                       ]
                  Plaintiffs,          ]
                                       ]
v.                                     ]                  COLLECTIVE ACTION
                                       ]
ALLTECH SYSTEMS, INC.,                 ]
                                       ]
                  Defendant.           ]
_______________________________________]

                       JOINT MOTION TO APPROVE SETTLEMENT

        Plaintiff, Leslie McColgin, on behalf of himself and others similarly situated (Plaintiffs) and

AllTech Systems, Inc. (AllTech), are pleased to announce they have reached a settlement with

respect to this Fair Labor Standards Act (FLSA) case. This settlement represents the culmination of

nearly a year’s worth of investigation, litigation, and negotiation. If approved, the settlement will

provide meaningful relief to the covered workers.

        The Parties filed their Joint Stipulations and Settlement Agreements of Collective Action

Claims (Settlement Agreements) under seal for review and approval in camera. Doc. 16. The Parties

jointly request the Court approve the Settlement Agreement as reasonable compromises in

accordance with Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1352-53 (11th Cir. 1982) (citing

Brooklyn Savings Bank v. O’Neil, 324 U.S. 697 (1945) (requiring Court or Department of Labor

approval for FLSA settlements, and explaining the standard for judicial review when the parties are

represented by counsel)). As set forth in this motion and the Settlement Agreement, the settlement

is a reasonable compromises of the claims in this lawsuit. See Evans v. Jeff D., 475 U.S. 717, 726-27

(1986) (explaining that in deciding whether the proposed settlement reflects a “reasonable
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compromise,” the Court may either accept or reject it but cannot require the parties to accept any

revisions or modifications to the agreement.).

1.       The Settlement.

         The Parties agreed to a settlement that offers each worker more than 100% of their

estimated unpaid overtime with AllTech – net of attorney’s fees and costs. And the unpaid overtime

was calculated using the three-year statute of limitations reserved for willful violations, rather than

the “default” two-year statute of limitations under the FLSA. See 29 U.S.C. § 255(a). Because this is

an FLSA collective action, the money will be offered to the potential Class Members on an “opt-in”

basis. 29 U.S.C. § 216(b). Therefore, only those who elect to participate will be bound.1

         If the Court approves the settlement, Plaintiffs’ Counsel will mail a copy of an approved

notice to each Class Member within seven (7) calendar days. See Settlement Agreements at § 4(a) &

Exhibit 2 (the “Notice”). Class Members will have until sixty (60) days after the date of the Court’s

Order Approving Settlement (the “Claim Filing Date”) to elect to participate in the settlement. Id. at

§ 4(c). Thus, prior to deciding whether to participate in the settlement, each potential Class Member

will be informed of: (1) the existence of this case; (2) their right to participate in the settlement if

they wish to do so; (3) the amount of money they will receive if they accept the settlement; and (4)

how they can obtain additional information and documents relevant to the case.

         Within ten (10) days after the Claim Filing Date, Plaintiffs’ Counsel will file a motion with

the Court listing: (1) the Class Members who filed timely Notices of Consent and Waiver

Agreements; and (2) the amount of money each will receive. See Settlement Agreements at § 5(a).

The motion will request an Order authorizing the issuance of payments under the Settlement



1         As this Court is aware, FLSA collective actions are “[u]nlike Rule 23 class actions, where plaintiffs become
parties through no action of their own, and are bound by its results.” Badgett v. Texas Taco Cabana, L.P., 2006 WL
367872, *2 (S.D.Tex. Feb. 14, 2006) (Lake, J.). Instead, only those persons who “elect to opt-in to the FLSA
representative action are . . . bound by its results.” Id.


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Agreements. Id. Provided the Court authorizes the payments, AllTech will mail all the necessary

checks to Bruckner Burch PLLC within fifteen (15) days. Id. at § 5(b). Bruckner Burch PLLC will

then distribute the checks to all Class Members participating in the settlements. Id. Within twenty-

five (25) days after the Court issues an Order authorizing the issuance of payments under this

Settlement Agreement, Plaintiff will file a motion with the Court confirming it made the payments

to the Class Members required under the Settlement Agreements and requesting entry of an Order

dismissing this case with prejudice. Id. at § 7.

2.      The Settlement Represents a Reasonable Compromise of this Litigation.

        This settlement provides each Class Member with the opportunity to recover more than

100% of the estimated back wages, for up to a full three years of their employment with AllTech, in

only a few months. Class Members can participate in the settlement without fear of retaliation. As

stated in the Notice: “AllTech’s policies, as well as the law, prohibit retaliation against you for

participating in this settlement.” See Settlement Agreement at Exhibit 2, ¶ 7. Thus, the potential

Class Members are being assured they can accept the money being offered to them without fear of

retaliation.

        None of the amounts being offered to the employees covered by the Settlement Agreements

will be reduced for attorney’s fees, expenses or administrative costs. Instead, as part of an

independent negotiation, AllTech agreed to pay a fixed amount to cover all attorney’s fees, expenses

and administrative costs. The separately negotiated amounts will cover the costs associated with the

mailing of the agreed notice, receiving and categorizing the opt-in forms, resolving any challenges to

the estimated payments, and all other administrative costs. Settlement Agreement at § 2(C).




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         The Parties and their counsel2 agree the Settlement Agreements are reasonable compromises

of the claims alleged by Plaintiffs in light of the procedural posture of the case, the litigations risks

and the costs applicable to both sides. The Parties have engaged in arm’s-length settlement

negotiations involving multiple settlement sessions and several additional rounds of extended

settlement communications. Because the Settlement Agreement is a reasonable compromise and

adequately compensates the participants for all the unpaid overtime hours alleged by the class, the

Parties seek entry of the enclosed Agreed Order of Approval.

3.       Conclusion.

         Using the FLSA’s opt-in procedure, the Settlement Agreements give every potential class

member the option of participating in the settlement or retaining their right to sue. Prior to making

their decision, the class members will be: (1) provided with the information necessary to make an

informed choice (including access to relevant documents and advice of counsel); (2) given sufficient

time to evaluate their choices; and (3) assured they can accept the settlement without retaliation.

Each potential class member will be able to accept (or reject) the settlement as they see fit. Those

individuals who elect to participate in the settlement will receive an amount estimated to equal to

more than 100% of their unpaid overtime wages during their entire employment with AllTech (net

of attorneys’ fees, expenses and all costs). Therefore, the Parties request the Court approve the

attached Settlements as “reasonable compromises” of this dispute.

         A proposed Order Approving Settlement is attached.




2           Plaintiffs’ counsel has served as lead counsel in numerous of large-scale wage and hour class/collective actions.
See, e.g., Roussell v. Brinker Int’l, Inc., 09-20561, 2011 WL 4067171 (5th Cir. Sept. 14, 2011) (affirming jury verdict in FLSA
collective action); Belt v. EmCare, Inc., 444 F.3d 403 (5th Cir. 2006) (affirming summary judgment in favor of a nationwide
class of FLSA plaintiffs). AllTech is represented by employment litigation specialists with substantial experience
defending collective actions under the FLSA. The Parties respectfully submit the Court may consider their opinions in
evaluating the settlement. Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977) (opinions of experienced counsel may be
considered in evaluating settlement).


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Respectfully submitted,                        Respectfully submitted,

LESLIE McCOLGIN, on behalf of                  ALLTECH SYSTEMS, INC.
himself and others similarly situated

/s/ Rex Burch                                  /s/ Scott Fiddler


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                                 CERTIFICATE OF SERVICE

      On the date stamped above, I served this document via the Court’s ECF system.


                                                  /s/ Rex Burch
                                                  ______________________________
                                                  Richard J. (Rex) Burch




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